           Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 1 of 17



                       IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF PENNSYLVANIA

                                                       :
STORE CAPITAL ACQUISITIONS, LLC, a                     :
Delaware limited liability company, and                :
STORE MASTER FUNDING XIII, LLC, a                      :
Delaware limited liability company,                    :   CIVIL ACTION – BREACH OF
                                                       :   CONTRACT
                                                       :
                             Plaintiffs,               :
                                                       :   No. _________________
                        v.                             :
                                                       :
5171 CAMPBELLS LAND CO., INC., a                       :
Pennsylvania corporation, WILLIAM KANE,                :
FRANK KANE, and RON LINABURG,                          :
                                                       :
                             Defendants.               :
                                                       :
                                                       :
                                                       :


                                             COMPLAINT

                  Plaintiffs, STORE Capital Acquisitions, LLC and STORE Master Funding XIII,

LLC (“Plaintiffs”) for their complaint of breach of contract and breach of guaranty against

Defendants, 5171 Campbells Land Co., Inc., a Pennsylvania corporation, William Kane, Frank

Kane, and Ron Linaburg (“Defendants”), aver as follows:

                                PARTIES, JURISDICTION AND VENUE

                  1.         STORE Capital Acquisitions, LLC (“STORE Capital”) is a Delaware

limited liability company with its principal place of business in Scottsdale, Arizona, and an

address of 8377 E. Hartford Dr., Suite 100, Scottsdale, Arizona 85255.

                  2.         STORE Capital Acquisitions, LLC consists of a single member: STORE

Capital Corporation, a Maryland corporation with its principal place of business in Scottsdale,

Arizona.




DMWEST #36996448 v1
           Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 2 of 17



                  3.    STORE Master Funding XIII, LLC (“STORE Master”) is a Delaware

limited liability company with its principal place of business in Scottsdale, Arizona, and an

address of 8377 E. Hartford Dr., Suite 100, Scottsdale, Arizona 85255.

                  4.    STORE Master Funding XIII, LLC consists of a single member: STORE

Capital Acquisitions, LLC. STORE Capital Acquisitions, LLC consists of a single member:

STORE Capital Corporation, a Maryland corporation with its principal place of business in

Scottsdale, Arizona.

                  5.    5171 Campbells Land Co., Inc. is a Pennsylvania corporation with its

principal place of business in Allegheny County, Pennsylvania.

                  6.    On information and belief, William Kane is a resident of Pennsylvania.

                  7.    On information and belief, Frank Kane is a resident of Pennsylvania.

                  8.    On information and belief, Ron Linaburg is a resident of Pennsylvania.

                  9.    William Kane, Frank Kane, and Ron Linaburg are each a “Guarantor,”

and, collectively, the “Guarantors.”

                  10.   This Court has jurisdiction pursuant to 28 U.S.C. § 1332 as the matter in

controversy exceeds $75,000 and the action is between citizens of different states.

                  11.   Venue exists in this judicial district pursuant to 28 U.S.C. § 1391(b)(1)

because, on information and belief, all Defendants are residents of Pennsylvania and at least one

Defendant resides in this judicial district.

                  12.   Jurisdiction and venue are proper in this judicial district because

Defendants have expressly submitted to such jurisdiction and venue.




DMWEST #36996448 v1
                                                 2
           Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 3 of 17



                                   GENERAL ALLEGATIONS

         A.       The Mortgage Loan Agreement and Promissory Note

                  13.   On or about April 3, 2018, STORE Capital and 5171 executed a Mortgage

Loan Agreement (the “Loan Agreement”) whereby STORE Capital agreed to loan to 5171 an

aggregate amount of $1,750,000. A true and correct copy of the Loan Agreement is attached

hereto as Exhibit A.

                  14.   On or about April 3, 2018, in connection with the Loan Agreement, 5171

executed in favor of STORE Capital a Promissory Note (the “Note”), whereby 5171 pledged to

pay to STORE Capital the principal sum of the loan plus interest on the unpaid principal amount.

A true and correct copy of the Note is attached hereto as Exhibit B.

                  15.   STORE Capital made the loan to 5171 for the sole purpose of enabling

5171 to refinance existing debt.

                  16.   The Loan Agreement requires 5171 to repay the outstanding principal

amount of the loan, together with interest thereon, in the manner and in accordance with the

terms and conditions of the Note and other loan documents.

                  17.   The Note contains an Amortization Schedule which lists the payment due

dates for principal payments and interest payments.

                  18.   The Note provides that interest on the unpaid principal amount of the Note

accrues from the date of the Note’s execution to the Maturity Date, April 15, 2019, at the rate of

8.5% per annum.

                  19.   The Note provides that all past-due principal and interest bear interest

from the due date to the date of actual payment at the rate of 18% per annum.

                  20.   The Note further provides for a late charge equal to 5% of the amount of

any past-due payment or installment.

DMWEST #36996448 v1
                                                 3
            Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 4 of 17



                  21.   The Loan Agreement provides that the failure to pay any principal, interest

or other monetary sum due under the Note when due is an “Event of Default.”

                  22.   The Loan Agreement also provides that “an ‘Event of Default’ under any

other Loan Document, the Leases, or a breach or default . . . under any of the Other

Agreements”1 is an Event of Default for purposes of the Loan Agreement.

                  23.   The Note provides that the failure to pay any principal, interest, or other

monetary sum due under the Note when due is an Event of Default.

                  24.   The Note provides that “an ‘Event of Default’ or a breach or default . . .

under any of the Loan Documents or Other Agreements,”2 is an Event of Default for purposes of

the Note.

                  25.   The aggregate amount of the loan was advanced to 5171 in cash or

otherwise immediately available funds.

                  26.   On or about April 3, 2018, in connection with the execution of the Loan

Agreement and Note, the Guarantors executed an Unconditional Guaranty of Payment and

Performance for the benefit of STORE Capital, in which the “Guarantors unconditionally,

absolutely, and irrevocably guarantee[d] and promise[d] to pay to [STORE Capital], or order,

any and all amounts, including, without limitation, principal and interest, taxes, . . . late charges

[and] default interest.” A true and correct copy of this Guaranty is attached hereto as Exhibit C.




1
    Capitalized terms in this paragraph not otherwise defined herein have the meanings provided in
          the Loan Agreement.
2
    Capitalized terms in this paragraph not otherwise defined herein have the meanings provided in
          the Loan Agreement.

DMWEST #36996448 v1
                                                 4
             Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 5 of 17



         B.       The Master Lease

                  27.   On or about February 12, 2018, STORE Master, as Lessor, and 5171, as

Lessee, entered into the Master Lease Agreement (the “Master Lease”) for certain real property

located at:

             7175 Engle Road, Middleburg Heights, Ohio 44130

             4334 Buffalo Road, Erie, Pennsylvania 16510

             1871 Oakland Avenue, Indiana, Pennsylvania 15701

             2714 West Lake Road, Erie, Pennsylvania 16505

             915 W. Main Street, Grove City, Pennsylvania 16127

             78 Perkins Road, Clarion, Pennsylvania 16214

             18276 Conneaut Lake Road, Meadville, Pennsylvania 16335

             207 W. Plum Street, Edinboro, Pennsylvania 16412

             1953 Niles-Cortland Road SE, Warren, Ohio 44484

             4403 Peach Street, Erie, Pennsylvania 16509

             31-35 Bolivar Drive, Bradford, Pennsylvania 16701

             2728 West State Street, Olean, New York 14760

             310 W. Columbus Avenue, Corry, Pennsylvania 16407

             5550 Interstate Blvd., Austintown, Ohio 44515

             804 Boardman-Poland Road, Youngstown, Ohio 44512

             219 E. Central Avenue, Titusville, Pennsylvania 16354

             658 US Route 250 E, Ashland, Ohio, 44805

Collectively, the foregoing properties are referred to as the “Master Lease Properties.” A true

and correct copy of the Master Lease is attached hereto as Exhibit D.


DMWEST #36996448 v1
                                                 5
           Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 6 of 17



                  28.   5171 operates Perkins Restaurant and Bakery franchises on the Master

Lease Properties.

                  29.   Section 6.01 of the Master Lease requires 5171 to pay, prior to the earlier

of delinquency or the accrual of interest on the unpaid balance, all taxes and assessments of

every type or nature assessed against or imposed upon the Master Lease Properties.

                  30.   Section 12.01(c) of the Master Lease provides that the failure “to pay,

prior to delinquency, any taxes, assessments or other charges the failure of which to pay will

result in the imposition of a lien against any of the Properties” is an Event of Default.

                  31.   Section 12.01(k) of the Master Lease contains a “cross-default provision,”

which provides that “if there is an ‘Event of Default’ or other breach or default by Lessee or any

Guarantor under any of the other Transaction Documents or any Other Agreement,”3 such Event

of Default constitutes an Event of Default under the Master Lease.

                  32.   Section 12.02 of the Master Lease states STORE Master’s remedies upon

an Event of Default, such as the failure to pay rental obligations, taxes, or other Monetary

Obligations required by the Master Lease, as follows:

         Section 12.02 Remedies.
         Lessor shall be entitled to exercise, at its option, concurrently, successively, or
         in any combination, all remedies available at Law or in equity, including,
         without limitation, any one or more of the following:
         ...
                C.      to bring an action against Lessee for any damages sustained by
                        Lessor or any equitable relief available to Lessor and to the
                        extent not prohibited by applicable Law, to seize all personal
                        property or fixtures upon the Properties which Lessee owns or in
                        which it has an interest, in which Lessor shall have a landlord’s
                        lien and/or security interest, and to dispose thereof in accordance
                        with the Laws prevailing at the time and place of such seizure or

3
    Capitalized terms in this paragraph not otherwise defined herein have the meanings provided in
          the Master Lease.

DMWEST #36996448 v1
                                                  6
           Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 7 of 17



                        to remove all or any portion of such property and cause the same
                        to be stored in a public warehouse or elsewhere at Lessee’s sole
                        expense, without becoming liable for any loss or damage
                        resulting therefrom and without resorting to legal or judicial
                        process, procedure or action;
                        ...
                  E.    except to the extent prohibited by applicable law to accelerate
                        and recover from Lessee all Rental and Monetary Obligations
                        due and owing and scheduled to become due and owing under
                        this Lease both before and after the date of such breach for the
                        entire original scheduled Lease Term;
                  F.    to recover from Lessee all Costs paid or incurred by Lessor as a
                        result of such breach, regardless of whether or not legal
                        proceedings are actually commenced;
                        ...
                  I.    to use the Credit Enhancement as described in Section 4.09
                        hereof;
                  J.    Without limiting the generality of the foregoing or limiting in any
                        way the rights of Lessor under this Lease or otherwise under
                        applicable Laws, at any time after the occurrence, and during the
                        continuance, of an Event of Default, Lessor shall be entitled to
                        apply for and have a receiver appointed under applicable Law
                        by a court of competent jurisdiction (by ex parte motion for
                        appointment without notice) in any action taken by Lessor to
                        enforce its rights and remedies hereunder in order to protect and
                        preserve Lessor’s interest under this Lease or in the Properties
                        and the Personalty, and in connection therewith, LESSEE
                        HEREBY IRREVOCABLY CONSENTS TO AND WAIVES
                        ANY RIGHT TO OBJECT TO OR OTHERWISE
                        CONTEST THE APPOINTMENT OF A RECEIVER
                        AFTER THE OCCURRENCE, AND DURING THE
                        CONTINUANCE, OF AN EVENT OF DEFAULT. (emphasis
                        added).

                  33.   In connection with the execution of the Master Lease, pursuant to the

Credit Enhancement provision, 5171 delivered to STORE Master a Letter of Credit in an amount

equal to $2,500,000 as security for the full and faithful performance by 5171 of the payment of

the Base Monthly Rental. See Exhibit D § 4.09(a)(i).

                  34.   In connection with the execution of the Master Lease, pursuant to the

Credit Enhancement provision, 5171 delivered to STORE Master a Security Deposit in the sum



DMWEST #36996448 v1
                                                 7
             Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 8 of 17



of $2,500,000 as security for the full and faithful performance by 5171 of the payment of each

and every term of the Master Lease. See Exhibit D § 4.09(a)(ii).

                  35.    The Master Lease provides that if 5171 “defaults in any respect of any of

the terms, provisions, covenants and conditions of this Lease, . . . [STORE Master] may . . . use,

apply or retain the whole or any part of the Security Deposit or draw on the Letter of Credit . . .

for the payment of any Monetary Obligation (including Rental) in default or for any other sum

which [STORE Master] may expend or be required to expend by reason of [5171]’s default.”

Exhibit D § 4.09(b).

                  36.    On or about February 12, 2018, in connection with the execution of the

Master Lease, Guarantors executed an Unconditional Guaranty of Payment and Performance for

the benefit of STORE Capital, in which “[e]ach Guarantor unconditionally, absolutely, and

irrevocably guarantee[d] the punctual and complete payment and performance when due to

Lessor of all Monetary Obligations, including, without limitation, Rental [and] taxes.” A true

and correct copy of this Guaranty is attached hereto as Exhibit E.

         C.       The Individual Leases

                  37.    In addition to the Master Lease, on or about February 12, 2018, 5171 and

STORE Capital entered into separate lease agreements (the “Individual Leases”) for certain real

property located at:

                 587 E. Main Street, Canfield, Ohio 44406

                 1601 W. Prospect Road, Ashtabula, Ohio 44004

                 4896 Everhard Road NW, Canton, Ohio 44718

                 2945 East State Street, Hermitage, Pennsylvania 16148

                 115 Ludlow Street, Warren, Pennsylvania 16365



DMWEST #36996448 v1
                                                 8
           Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 9 of 17



Collectively, the foregoing properties are referred to as the “Individual Lease Properties,” and,

together with the Master Lease Properties, the Individual Lease Properties are referred to as the

“Properties.” True and correct copies of the Individual Leases are attached hereto as Exhibits F,

G, H, I, and J.

                  38.   5171 operates Perkins Restaurant and Bakery franchises on the Individual

Lease Properties.

                  39.   The contractual terms of the Individual Leases are substantially identical

to the terms of the Master Lease, including the remedy and default provisions, except that the

Individual Leases do not have a Credit Enhancement provision and are not secured by a Letter of

Credit or Security Deposit.

                  40.   As in the Master Lease, each Individual Lease contains a cross default

provision, which provides that “if there is an ‘Event of Default’ or other breach or default by

Lessee or any Guarantor under any of the other Transaction Documents or any Other

Agreement,”4 such Event of Default constitutes an Event of Default under the Individual Lease.

                  41.   On or about February 12, 2018, in connection with the execution of each

Individual Lease, Guarantors executed an Unconditional Guaranty of Payment and Performance

for the benefit of STORE Capital, in which “[e]ach Guarantor unconditionally, absolutely and

irrevocably guarantee[d] the punctual and complete payment and performance when due to

Lessor of all Monetary Obligations, including, without limitation, Rental [and] taxes.” True and

correct copies of the Guarantees are attached hereto as Exhibits K, L, M, N, and O.




4
    Capitalized terms in this paragraph not otherwise defined herein have the meanings provided in
          the Individual Leases.

DMWEST #36996448 v1
                                                 9
          Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 10 of 17



         D.       5171 Campbells Land Co., Inc.’s Default

                  42.   5171 has failed to make the required monthly payments under the Loan

Agreement and Note.

                  43.   5171 has failed to pay taxes as required by the Leases.

                  44.   On May 3, 2019, counsel for Plaintiffs sent Defendants a Notice of

Default and Demand for Payment (“Notice of Default”), explaining that 5171 failed to make

required payments under the Loan Agreement and Note and failed to pay taxes as required by the

Lease Agreements. A true and correct copy of the Notice of Default is attached hereto as Exhibit

P.

                  45.   Notwithstanding the Notice of Default, 5171 failed to cure the ongoing

Events of Default.

                  46.   On May 22, 2019, counsel for Plaintiffs again sent Defendants a Notice of

Continuing Default and Renewed Demand for Payment (“Notice of Continuing Default”),

explaining that the Events of Default were ongoing and remained uncured. A true and correct

copy of the Notice of Continuing Default is attached hereto as Exhibit Q.

                  47.   As of the date of the filing of this Complaint, the Events of Default under

the Loan Agreement, Note, Master Lease, and Individual Leases remain uncured.

                  48.   5171 has failed to pay STORE Capital the past due amount under the Loan

Agreement. Such outstanding amount is further subject to ongoing interest at the Default Rate of

18%.

                  49.   5171 has failed to pay outstanding taxes on multiple Properties.




DMWEST #36996448 v1
                                                 10
            Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 11 of 17



      COUNT ONE – BREACH OF CONTRACT – LOAN AGREEMENT AND NOTE
                     (5171 CAMPBELLS LAND CO., INC.)

                  50.   Plaintiffs incorporate by reference paragraphs 1 through 49 of this

Complaint as though fully set forth herein.

                  51.   5171 failed to pay STORE Capital amounts due and owed under the Loan

Agreement and Note.

                  52.   The failure to pay amounts due and owed under the Loan Agreement and

Note constitutes a default of those agreements.

                  53.   5171 was notified of its failure to pay amounts due and owed under the

Loan Agreement and Note.

                  54.   5171 failed to cure its default after being notified.

                  55.   Based on the failure to pay amounts due and owed and the failure to cure,

5171 has defaulted on its obligations under the Loan Agreement and Note and has materially

breached those agreements.

                  56.   Based on the cross default provisions and Events of Default under the

Individual Leases and Master Lease, and the failure to cure those Events of Default, 5171 has

further defaulted on and breached the Loan Agreement and Note.

                  57.   5171 owes unpaid principal, interest, and late charges to STORE Capital.

The exact amount owed to STORE Capital under the Loan Agreement and Note will be proved

at trial.

                  58.   Pursuant to the Loan Agreement and Note, Plaintiffs are entitled to an

award of attorneys’ fees, costs, and expenses incurred by Plaintiffs in this action.




DMWEST #36996448 v1
                                                  11
           Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 12 of 17



      COUNT TWO – BREACH OF CONTRACT – MASTER LEASE AGREEMENT
                    (5171 CAMPBELLS LAND CO., INC.)

                  59.   Plaintiffs incorporate by reference paragraphs 1 through 58 of this

Complaint as though fully set forth herein.

                  60.   Following the execution of the Master Lease, 5171 has been in possession

of the Master Lease Properties.

                  61.   Except as excused by law or the conduct of 5171, Plaintiffs have

performed all promises, conditions and covenants required on their part to be performed in

accordance with the terms and conditions of the Master Lease.

                  62.   Under the terms of the Master Lease, 5171 agreed to pay all taxes required

by the Master Lease prior to the earlier of delinquency or the accrual of interest on the unpaid

balance.

                  63.   5171 has failed to pay taxes on the Master Lease Properties when due.

                  64.   The failure to pay, prior to delinquency, any taxes, assessments or other

charges the failure of which to pay will result in the imposition of a lien against any of the

Master Lease Properties constitutes default of the Master Lease.

                  65.   Plaintiffs notified 5171 of its failure to pay taxes due on the Master Lease

Properties.

                  66.   5171 failed to cure its default by paying taxes owed on the Master Lease

Properties prior to delinquency.

                  67.   Based on the failure to pay taxes due and owed and failure to cure, 5171

has defaulted on its obligations under the Master Lease has materially breached that agreement.




DMWEST #36996448 v1
                                                 12
          Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 13 of 17



                   68.   Based on the cross default provisions and Events of Default under the

Loan Agreement, Note, and Individual Leases, and the failure to cure those Events of Default,

5171 has further defaulted on and breached the Master Lease.

                   69.   The total amount of taxes and other Monetary Obligations past due will be

proved at trial.

                   70.   Pursuant to the Master Lease, Plaintiffs are entitled to an award of

attorneys’ fees, costs, and expenses incurred by Plaintiffs in this action.

 COUNT THREE – BREACH OF CONTRACT – INDIVIDUAL LEASE AGREEMENTS
                  (5171 CAMPBELLS LAND CO., INC.)

                   71.   Plaintiffs incorporate by reference paragraphs 1 through 70 of this

Complaint as though fully set forth herein.

                   72.   Following the execution of the Individual Leases, 5171 has been in

possession of the Individual Lease Properties.

                   73.   Except as excused by law or the conduct of 5171, Plaintiffs have

performed all promises, conditions and covenants required on their part to be performed in

accordance with the terms and conditions of the Individual Leases.

                   74.   Under the terms of the Individual Leases, 5171 agreed to pay all taxes

required by the Individual Leases prior to the earlier of delinquency or the accrual of interest on

the unpaid balance.

                   75.   5171 has failed to pay taxes on the Individual Lease Properties when due.

                   76.   The failure to pay, prior to delinquency, any taxes, assessments or other

charges the failure of which to pay will result in the imposition of a lien against any of the

Individual Lease Properties constitutes default of the Individual Leases.




DMWEST #36996448 v1
                                                 13
          Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 14 of 17



                   77.   Plaintiffs notified 5171 of its failure to pay taxes due on the Individual

Lease Properties.

                   78.   5171 failed to cure its default by paying taxes owed on the Individual

Lease Properties prior to delinquency.

                   79.   Based on the failure to pay taxes due and owed and failure to cure, 5171

has defaulted on its obligations under the Individual Leases and has materially breached those

agreements.

                   80.   Based on the cross default provisions and Events of Default under the

Loan Agreement, Note, and Master Lease, and the failure to cure those Events of Default, 5171

has further defaulted on and breached the Individual Leases.

                   81.   The total amount of taxes and other Monetary Obligations past due will be

proved at trial.

                   82.   Pursuant to the Individual Leases, Plaintiffs are entitled to an award of

attorneys’ fees, costs, and expenses incurred by Plaintiffs in this action.

                  COUNT FOUR – BREACH OF CONTRACT – GUARANTEES
                                  (GUARANTORS)

                   83.   Plaintiffs incorporate by reference paragraphs 1 through 82 of this

Complaint as though fully set forth herein.

                   84.   Concurrent with the execution of the Loan Agreement and Note, the

Master Lease, and the Individual Leases, and as inducement for Plaintiffs to enter into those

agreements, the Guarantors executed multiple Unconditional Guarantees of Payment and

Performance, pursuant to which they guaranteed the full, faithful, and timely payment and

performance by 5171 under the Loan Agreement and Note, the Master Lease, and the Individual

Leases.


DMWEST #36996448 v1
                                                 14
          Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 15 of 17



                  85.    Each Guaranty remains and continues in full force and effect and has not

been discharged in whole or in part.

                  86.    The Guarantors have been provided with due notice of breach or

nonperformance by 5171.

                  87.    Pursuant to each Guaranty, Guarantors are liable to Plaintiffs for the

damages caused by 5171’s breach, as alleged above.

                  88.    The obligations of the Guarantors under the Guarantees are primary, joint,

several, and independent of the obligations of 5171.

                  89.    Guarantors breached their obligations under each Guaranty by failing to

pay Plaintiffs any sum of money due and owing by 5171 under the Loan Agreement and Note,

the Master Lease, and the Individual Leases.

                  90.    As a proximate result of Guarantors’ breaches of each Guaranty, Plaintiffs

have been damaged as alleged above.

                  91.    Plaintiffs have been compelled to retain counsel to commence this

litigation to recover damages for breaches of the Loan Agreement and Note, the Master Lease,

the Individual Leases, and each Guaranty.

                  92.    Pursuant to the Loan Agreement, Note, Master Lease, Individual Leases,

and each Guaranty, Plaintiffs are entitled to an award of attorneys’ fees, costs, and expenses

incurred by Plaintiffs in this action.

                  WHEREFORE, Plaintiffs respectfully request that judgment be entered in their

favor and against all Defendants, jointly and severally, as follows:

         1.       For compensatory damages of an amount to be proved at trial for unpaid

                  principal, interest, and late charges under the Loan Agreement and Note, together



DMWEST #36996448 v1
                                                 15
          Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 16 of 17



                  with accrued and accruing interest (at the contractual default rate), fees, charges

                  and costs recoverable;

         2.       For compensatory damages of an amount to be proved at trial for any outstanding

                  Monetary Obligations under the Leases, together with accrued and accruing

                  interest (at the contractual default rate), fees, charges and costs recoverable;

         3.       To the extent Plaintiffs elect to terminate the Leases, Rental for the balance of the

                  term of the Leases after the time of award, less any rents collected by Plaintiffs in

                  mitigation of damages;

         4.       For reasonable attorneys’ fees and costs of suit;

         5.       For interest at the maximum legal rate on all amounts due and owing;

         6.       For the immediate appointment of a receiver over 5171 Campbells Land Co., Inc;

                  and

         7.       For such other and further relief as the Court in its discretion may deem equitable

                  and just.


Dated: June 12, 2019                             /s/ Jenny N. Perkins
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                                                 Clifford Sacalis, PA ID No. 313765
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DMWEST #36996448 v1
                                                    16
          Case 2:19-cv-00685-WSS Document 1 Filed 06/12/19 Page 17 of 17



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DMWEST #36996448 v1
                                        17
